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                         EXHIBIT A
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NORTH
STREAM




                 Restorative
                 Restorative
                  ommunity
                 Community                            Date of
                                                      the Report


  SDG Progress
  Report 2025
                 Developments
                 Developments
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                          OUR PURPOSE
     NorthStream exists to develop Restorative Communities by establishing
        and expanding "embassies of New Eden” throughout the world.



What Is a Restorative Community Development (RCD)
        RCD's are self-contained investment portfolios, ideal for venture
       philanthropists and impact investors, combining profitability with
      socially and environmentally conscious developments that directly
            impact human flourishing in both rural and urban areas.
           cvianarerecy                     Our
                                            our Vision
                                                Vision and
                                                       and Mission
                                                           Mission
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          “Is not this the fast that | choose: to loose the bonds of wickedness, to undo the straps ofthe yoke, to let the
          oppressed go free, and to break every yoke? ’ IS IT NOT TO SHARE YOUR BREAD WITH THE HUNGRY AND BRING
          THE HOMELESS POOR INTO YOUR HOUSE; when you see the naked, to cover him, and not to hide yourself from
          your own flesh? ® Then shall your light break forth like the dawn, and your healing shall spring up speedily;
          your righteousness shall go before you; the glory of the Lord shall be your rear guard. ? Then you shall call, and
          the Lord will answer; you shall cry, and he will say, ‘Here | am. If you take away the yoke from your midst, the
          pointing of the finger, and speaking wickedness, "Tia TUE TT TT                  Ce             eee am
          CSC         RU aC           em                     mee         ele dtesgsand your gloom be as the noonday. " And
          the Lord will guide you continually and satisfy your desire in scorched places and make your bones strong; and
          you shall be like a watered garden, like a spring of water, whose waters do not fail. * And your ancient ruins


          yen shall be ellie te repaarer of fhe brench fhe reghrer of fete devel om
          Shall be rebuilt; you shall raise up the foundations of many generations;


          '“lf you turn back your foot from the Sabbath, from doing your pleasure on my holy day, and call the Sabbath
          a delight and the holy day of the Lord honorable; if you honor it, not going your own ways, or seeking
          your own pleasure, or talking idly; "then you shall take delight in the Lord, and | will make you ride on
          the heights of the earth; | will feed you with the heritage of Jacob your father, for the mouth a
      __ of the Lord has spoken.’                                                                                              " agi




. |                       Raising the
                          Raising  the foundations
                                       foundations of
                                                   of generations
                                                      generations to
                                                                  to
      :                   see communities
                          see  communities restored
                                            restored around
                                                      around the
                                                             the world                                                                 03
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                                                          A Note From Our
                                                          Founder and President
                                                          "We believe that prosperity can only be sustained when human,
                                                          environmental, and economic flourishing are integrated into a
                                                          cohesive ecosystem. The concept of RCDs is anchored in the
"We believe that prosperity can
                                                          conviction that prosperity and equity are not mutually exclusive,
only be sustained when human,
                                                          and that ethical investing can and should include both. Therefore,
 environmental, and economic
flourishing are integrated into a                         RCDs are designed, planned, and developed around the vision of
      cohesive ecosystem"                                 restoring EQUITY, restoring LAND, restoring PEOPLE, restoring
                                                          DIGNITY, and restoring HOPE. in short, RCDs are HABITATS FOR
         - Kerri Weems                                    WHOLENESS!"




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               Ideal Features of a Restorative
                                                                       656




               Community Development (RCD)

What We Look For In A Site:                                         What We Look For In A Partner:

           A rural or urban area in a state of                                              Willingness to build up the financial
           deterioration, depreciation, or                                                  foundations to historically marginalized or
           unrealized value potential                                                       oppressed people in the form of land or other
                                                                                            real assets that build equity

           A water source for access to
                                                                                             Alignment with Sabbath Ethics*
           clean and sustainable water


                                                                                             Openness to programs that develop
           Available land to
                                                                                             an ecosystem of hope
           develop for agriculture and housing


                                                                                            *See next page
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               Ideal Features of a Restorative
                                                                      657




               Community Development (RCD)

What We Do:                                                               What Are Sabbath Ethics?

          Establish profit centers to bring                               In all its forms, Sabbath was instituted within ancient Israel to ensure that “there shall
                                                                          be no poor among you” (Deut. 15:4).[1]
          increased return to investors and
          businesses to the RCD                                           Sabbath is more than just rest. It is an act of holy resistance. It is a form of social
                                                                          justice. It is an eschatological demonstration. It is the essence of the threefold
                                                                          proclamation of God’s shalom:
          Develop housing and infrastructure that
                                                                          Shalom proclaimed (kerygma)
          promotes agricultural sustainability and                        Shalom lived (koinonia)
          the potential ability to trade goods and                        Shalom demonstrated (diakonia)[2]
          services between RCDs
                                                                          Four theological themes that are key to understanding Sabbath as holy, gospel
                                                                          justice:
          Integrate programming and
          resources that promote human                                    The role of covenant in defining relationships in society
                                                                          The emphasis of the land within Sabbath thought
          flourishing
                                                                          The eschatological reign of God
                                                                          The role of rest[3]

                                                                          [1] Spotts, 138.
                                                                          [2] Scott Sunquist, Understanding Christian Mission (Grand Rapids: Baker, 2013), 140.
                                                                          [3] Spotst, 137.
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               Building A Restorative
               Community
ACQUISITION, LEGAL STRUCTURE,
                                                                                                       Step
     PROFIT GENERATION



               WHAT HAPPENS:
              - Acquire assets (land)
- Establish profit center(s) to generate cash flow
            and raise property values
              -Refine legal structure
        - Determine programming needs
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                              Building A Restorative
                              Community
   DESIGN, PARTNERSHIPS,
         STRATEGY                                                                                                      Step


                 WHAT HAPPENS:

                - Listen and learn sessions
- Establish community relationships and partnerships
    - Identify best match for funding opportunities
                    - Design community
                 - Prepare funding targets
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         Building A Restorative
         Community
   FUNDING, EXPANSION,
      TOKENIZATION
Step
                           WHAT HAPPENS:
                           - Secure funding
       - Increase revenues from phase 1 profit centers and/or
         - Add round 2 of profit centers and verticals to show
                    cash flow and increased value
                        - Tokenize land assets
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                       Building A Restorative
                       Community

    LAUNCH & BUILD                                                                                              Step

                WHAT HAPPENS:

- Begin building phase 1 of community according to
                     design plan
               - Launch/release tokens
      - Sales and marketing for grand opening
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                  Building A Restorative
                                                             662




                  Community
                           OPEN & INTEGRATE SERVICES, AMENITIES
                           AND INFASTRUCTURE

                                                                                                             Step
              WHAT HAPPENS:

             - Grand opening event
- Launch of programs and community resources
    - Community engagement and exposure
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                   Building A Restorative
                                                                 663




                   Community
STABILIZE, EXPAND, PREPARE
FOR EXIT STRATEGY                                                                                                Step

                WHAT HAPPENS:

        - Stabilize and expand profit centers
  - Stabilize and expand programs and resource
                       offerings
     - Begin to develop an exist strategy for the
           community to stand on its own
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                                                            HOW DO WE
                                                            GENERATE A PROFIT?
                                                            - Establish profit centers quickly +                   - Missions donations
                                                            add value to assets                                    - Corporate donations
                                                            - Strategic Business Partners (profit                  - Tokenized Assets
                                                            sharing)                                               - Micro-financing
           Adding value to                                  - Equity Stakes                                        - Real Estate Development
         our investors is key...                            - Grant money                                          - Management contracts
                                                            - Private donations                                    - Exit Buyouts
                                                                                                                   - Partnerships in Urban Areas
We coordinate and leverage the cash flow
      of diverse funding streams
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                                                                       Strategic Partners
                                                                       - Corporate Attorneys
                                                                       - Corporate Accountants/ CPA's
                                                                       - Financial Institutions
                                                                       - Behavioral Health Services
                                                                       - State, City, and Local Governments
                                                                       - Non-Profits
                                                                       - Faith-based Entities
                                                                       - Governmental Liaisons & Partnerships
                                                                       - Programming/ PPP's
                                                                       - Civil Engineer
                                                                       - Developers
                                                                       - Agricultural Specialist
                                                                       - Business Development Specialist
                                                                       - Senior Living Companies
                                                                       - Donor Development Strategists
                                                                       - Restaurant/ Hospitality Specialist
                                                                       - Investors
We don't try to do it all. Instead, we                                 - Educators
establish mutually beneficial strategic                                - Tech Companies
partnerships with experts in the                                       - Media Companies
professions necessary to build and
sustain RCDs
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            Communities restored  restored around
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